Case 1:21-cr-00699-JDB Document 13 Filed 11/30/21 Page 1 of 4

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

CASE NO.
V.
JOLY GERMINE, also known as Yonyon,
Filed Under Seal
ELIANDE TUNIS,
JOCELYN DOR, and

WALDER ST. LOUIS,

Defendants.

MOTION AND SUPPORTING MEMORANDUM TO SEAL
INDICTMENT, ARREST WARRANT, AND RELATED PAPERWORK

The United States of America, by its attorney, the United States Attorney for the District
of Columbia, hereby moves the Court pursuant to Fed. R. Crim. P. 6(e)(4) to place under seal until
further order of the Court the Indictment for defendants JOLY GERMINE, also known as Yonyon,
ELIANDE TUNIS, JOCELYN DOR, and WALDER ST. LOUIS, and the Arrest Warrant for
GERMINE, in the above-captioned case, as well as the Government’s Motion to Seal and any order
sealing the aforesaid documents. In support of its motion, the government states as follows:

1. An Indictment may be sealed pursuant to Rule 6(e)(4) for any legitimate
prosecutorial reason, including, as recognized by the Rule itself, to take the defendant into custody
and bring him or her before the court. See United States v. Michael, 180 F.2d 55, 57 (Gd Cir.
1949); see also United States v. Sharpe, 995 F.2d 49 (Sth Cir. 1993); United States v. Southland
Corp., 760 F.2d 1366, 1379-80 (2d Cir. 1985); United States v. Lyles, 593 F.2d 182 (2d Cir. 1979).

2. Earlier today, November 30, 2021, a grand jury returned an Indictment against

defendants GERMINE, TUNIS, DOR, and ST. LOUIS, charging them with the following offenses:
Case 1:21-cr-00699-JDB Document 13 Filed 11/30/21 Page 2 of 4

18 U.S.C. § 371 (Conspiracy to Violate the Export Control Reform Act, 50 U.S.C. § 4819, and to
Defraud the United States), 50 U.S.C. § 4819, 18 U.S.C § 2 (Export Control Reform Act, Aiding
and Abetting, Causing an Act to be Done)18 U.S.C. §§ 554(a), 2 (Smuggling, Aiding and Abetting,
Causing an Act to be Done) and 18 U.S.C. §§ 1956(a)(3)(A)), 2 (Laundering of Monetary
Instruments, Aiding and Abetting, Causing an Act to be Done)).

3, This case involves weapons trafficking for the benefit of 400 Mawozo, a Haitian
gang that is currently holding hostage for ransom 14 U.S. citizens, including five children, one as
young as nine months old. The hostages have been held continuously since October 16, 2021.

4. Defendants TUNIS, DOR, and ST. LOUIS were previously charged by Complaint
on or about October 31, 2021. GERMINE was listed in the Complaint as an anonymized
coconspirator. News of these defendants’ arrest became well known in Haiti and had a negative
impact on the hostage negotiations between 400 Mawozo and the hostages’ representative. The
representative continues to seek the release of the hostages. Should this Indictment become public,
and specifically the charges against GERMINE become public, it could negatively impact the
negotiations and/or potentially cause retribution on the hostages.

5. The sealing of the Indictment will not negatively impact on the three charged
defendants (TUNIS, DOR, and ST. LOUIS), all of whom were arrested in Florida and are pending
transfer to the District. The government will move to unseal the Indictment at the time when the
first of these three defendants appears in the District. At that point, if the hostages remain in
captivity, the government will seek the Court’s approval to partially unseal Indictment, with
redactions remaining only as to GERMINE’s identity.

6. Accordingly, the United States submits that under Washington Post v. Robinson,
Case 1:21-cr-00699-JDB Document 13 Filed 11/30/21 Page 3 of 4

935 F, 2d 282, 289 n.10 (D.C. Cir. 1991), these facts present an extraordinary situation and a
compelling governmental interest which justify the sealing of the Indictment, the Arrest Warrant,
this Motion, and any Order to Seal, until such time as the defendant is arrested.

7. In addition, the government respectfully moves for the Indictment and Arrest
Warrant to remain sealed -- with the exception that the Government be permitted to disclose the
Indictment, the Arrest Warrant, and the Order to Seal to (1) appropriate U.S. and foreign law
enforcement officials and other officials and personnel to the extent that such disclosure is in
furtherance of national security or efforts to locate, arrest, detain, transfer, extradite, or expel the
defendant, and (2) the court, court officials, and defense counsel in this district or any other
appropriate district as necessary to conduct any court proceedings in that district.

8. We further request that the Court’s order permit unsealing of the Indictment, and
any supporting documents and docket entries, and the Arrest Warrant by any United States District
Court Judge or any United States Magistrate Judge, in any district, upon oral motion of the United

States.
Case 1:21-cr-00699-JDB Document 13 Filed 11/30/21 Page 4 of 4

CONCLUSION

WHEREFORE, for all the foregoing reasons, the United States of America respectfully
requests that the Court issue an Order sealing the Indictment and Arrest Warrant as well as sealing
this Motion and the Court’s sealing Order until further order of this Court. A proposed Order is

submitted herewith.

Respectfully submitted,

MATTHEW M. GRAVES
ACTING UNITED STATES ATTORNEY
D.C. Bar No. 481052

Date: November 30, 2021 By: /s/ Karen P. W. Seifert
Karen P. W. Seifert
Assistant United States Attorney
N.Y. Bar No. 4742342
National Security Section
United States Attorney’s Office
555 Fourth Street, N.W.
Washington, D.C. 20530
Telephone: (202) 252-7527
Email: karen.seifert@usdoj.gov

